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dn the
United States Court of Appeals

For the Eleventh Cireuit

No. 23-12958
THE STATE OF GEORGIA,
Plaintiff-Appellee,
versus
MARK RANDALL MEADOWS,
Defendant-Appellant.

Appeal from the United States District Court
for the Northern District of Georgia
D.C. Docket No. 1:23-cv-03621-SC]J

JUDGMENT
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It is hereby ordered, adjudged, and decreed that the opinion is-
sued on this date in this appeal is entered as the judgment of this
Court.

Entered: December 18, 2023

For the Court: Davip J. SMITH, Clerk of Court

ISSUED AS MANDATE: March 7, 2024
